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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
COMMITTEE ON THE JUDICIARY OF THE         )
U.S. HOUSE OF REPRESENTATIVES,            )
                                           )
                        Plaintiff,         )
v.                                         ) No. 1:19-cv-2379-KBJ
                                           )
DONALD F. McGAHN II,                       )
                                           )
                        Defendant.         )
__________________________________________)

                                 NOTICE OF APPEARANCE

       Please take notice that Andrew M. Bernie, United States Department of Justice, Civil

Division, Federal Programs Branch, hereby enters his appearance as counsel for Defendant Donald

F. McGahn II, in his official capacity as former Counsel to the President.

Dated: August 30, 2019                            Respectfully submitted,

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                                                  /s/ Andrew M. Bernie
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